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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KRISTY LYNN PUGLIESE,


                                Plaintiff,
vs.                                              Civil Action No.:
EQUIFAX INFORMATION
SERVICES, LLC; EXPERIAN                          JURY TRIAL
INFORMATION SOLUTIONS, INC;                      DEMANDED
and TRANS UNION, LLC,


                             Defendants.



                                  COMPLAINT

      Kristy Lynn Pugliese (“Plaintiff”), a living, breathing consumer, brings this

Complaint against Equifax Information Services, LLC (“Equifax”); Experian

Information Solutions, Inc. (“Experian”); and Trans Union, LLC (“Trans Union”)

(collectively, “Defendants”), and states as follows:

                                INTRODUCTION

      1.     The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual American

consumers. Data technology, whether it is used by businesses, banks, the Internal

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Revenue Service or other institutions, allows information concerning individual

consumers to flow instantaneously to requesting parties. Such timely information is

intended to lead to faster and better decision-making by its recipients and, in theory,

all of society should ultimately benefit from the resulting convenience and

efficiency.

      2.      However, unfortunately this information has also become readily

available for, and subject to, mishandling and misuse. Individual consumers can and

do sustain substantial damage, both economically and emotionally, whenever

inaccurate or fraudulent information is disseminated and/or obtained about them. In

fact, Defendants acknowledge this potential for misuse and resulting damage every

time they sell their credit monitoring services to a consumer.

      3.      The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals’ credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).

      4.      Defendants Equifax, Experian, and Trans Union are each CRAs as

defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681a(f).

      5.      These CRAs sell information to readily paying subscribers (i.e.,

retailers, landlords, lenders, potential employers, and other similar interested

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parties), commonly called “consumer reports,” concerning individuals who may be

applying for retail credit, housing, employment, or a car or mortgage loan.

      6.    Since 1970, when Congress enacted the Fair Credit Reporting Act, 15

U.S.C. § 1681, et seq. (“FCRA”), federal law has required CRAs to implement and

utilize reasonable procedures “to assure maximum possible accuracy” of the

personal, private, and financial information that they compile and sell about

individual consumers.

      7.    One of the primary purposes in requiring CRAs to assure “maximum

possible accuracy” of consumer information is to ensure the stability of our banking

system:

      The banking system is dependent upon fair and accurate credit
      reporting. Inaccurate credit reports directly impair the efficiency of the
      banking system, and unfair credit reporting methods undermine the
      public confidence which is essential to the continued functioning of the
      banking system.

See 15 U.S.C. § 1681(a)(1).

      8.    The preservation of one’s good name and reputation is also at the heart

of the FCRA’s purposes:

      [W]ith the trend toward computerization of billings and the
      establishment of all sorts of computerized data banks, the individual is
      in great danger of having his life and character reduced to impersonal
      “blips” and key-punch holes in a stolid and unthinking machine which
      can literally ruin his reputation without cause, and make him
      unemployable or uninsurable, as well as deny him the opportunity to
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      obtain a mortgage or buy a home. We are not nearly as much concerned
      over the possible mistaken turn-down of a consumer for a luxury item
      as we are over the possible destruction of his good name without his
      knowledge and without reason. * * * [A]s Shakespeare said, the loss of
      one’s good name is beyond price and makes one poor indeed (emphasis
      added).

Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec.

36570 (1970)].

      9.     The FCRA also requires CRAs to conduct a reasonable reinvestigation

to determine whether information disputed by consumers is inaccurate and record

the current status of the disputed information, or delete the disputed information,

before the end of the 30-day period beginning on the date on which the CRA receives

the notice of dispute from the consumer. This mandate exists to ensure that consumer

disputes are handled in a timely manner and that inaccurate information contained

within a consumer’s credit report is corrected and/or deleted so as to not prevent said

consumer from benefiting from his or her credit and obtaining new credit.

      10.    In light of these important findings and purposes, Congress specifically

noted “a need to insure that [CRAs] exercise their grave responsibilities with

fairness, impartiality, and respect for the consumer’s right to privacy.” See 15 U.S.C.

§ 1681(a)(4).

      11.    This action seeks actual, statutory, and punitive damages, costs and

attorneys’ fees for Plaintiff against Defendants for their willful and/or negligent
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violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., as described

herein.

                                      THE PARTIES

      12.      Plaintiff Kristy Lynn Pugliese (“Plaintiff”), is a natural person who

resides in the State of Georgia, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      13.      Defendant Equifax Information Services, LLC. (“Equifax”) is a limited

liability company that resides in the State of Georgia and in the Northern District.

      14.      Equifax is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

      15.      Defendant Experian Information Solutions, Inc. (“Experian”) is a

foreign limited liability company authorized to do business in the State of Georgia.

      16.      Experian is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Experian is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.




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      17.    Defendant Trans Union, LLC (“Trans Union”) is a foreign limited

liability company authorized to do business in the State of Georgia.

      18.    Trans Union is a “consumer reporting agency” as defined in 15 U.S.C.

§ 1681a(f). Trans Union is regularly engaged in the business of assembling,

evaluating, and disseminating information concerning consumers for the purpose of

furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

                             JURISDICTION AND VENUE

      19.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

      20.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

      21.    Plaintiff mailed multiple written disputes regarding inaccurate

information in Plaintiff’s Equifax credit report to Equifax located in Fulton County;

Atlanta, Georgia.

      22.    Defendant Equifax received Plaintiff’s multiple written disputes in

Fulton County; Atlanta, Georgia.




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      23.    Upon receipt of Plaintiff’s disputes, Defendant Equifax forwarded such

disputes via Automated Consumer Dispute Verification electronic forms. Upon

completion of its investigations pursuant to 15 U.S.C. § 1681s-2(b), the furnisher

responded to Defendant Equifax’s electronic communications, which originated

from Atlanta, Georgia, by sending its results electronically to Defendant Equifax in

Fulton County; Atlanta, Georgia

      24.    Defendant Equifax then processed the dispute results at its National

Consumer Assistance Center in Atlanta, Georgia, and mailed Plaintiff its final

dispute results from Atlanta, Georgia.

                                     FACTS

   The Credit Bureau Defendants’ Practices Concerning the Sale of Credit
                       Reports on the “Deceased”

      25.    Defendants Equifax, Experian, and Trans Union sell millions of

consumer reports (often called “credit reports” or “reports”) per day, and also sell

credit scores.

      26.    Pursuant to 15 U.S.C. § 1681e(b), consumer reporting agencies, like

Defendants Equifax, Experian, and Trans Union, are required “to follow reasonable

procedures to assure maximum possible accuracy of the information concerning the

individual about whom the report relates.”


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        27.   Pursuant to 15 U.S.C. §§ 1681b and 1681e(a), consumer reporting

agencies, like Defendants Equifax, Experian, and Trans Union, must maintain

reasonable procedures to assure that reports are sold only for legitimate “permissible

purposes.”

        28.   Defendants Equifax, Experian, and Trans Union routinely place a

“deceased” notation or marking on credit reports when they are advised by any of

their many data furnishing sources (such as banks and debt collectors) that a given

consumer is deceased.

        29.   Defendants Equifax, Experian, and Trans Union’s furnishing sources

identify “deceased” consumers by marking the “status” of such consumer’s

responsibility for any subject account with an “X” code in the “ECOA” field of an

electronic data input format used in the credit reporting industry, known as Metro or

Metro 2.

        30.   Defendants Equifax, Experian, and Trans Union do not request or

require a death certificate from any of their data sources which advise that a

consumer is “deceased” before placing a “deceased” mark in that consumer’s credit

file.

        31.   Defendants Equifax, Experian, and Trans Union do not request or

require any proof from any data source which advises that a consumer is “deceased”

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showing that the consumer is, in fact, deceased before placing a “deceased” mark on

that consumer’s report.

      32.    Defendants Equifax, Experian, and Trans Union do not independently

verify with any source or furnisher that a consumer is, in fact, deceased before

placing a “deceased” mark on that consumer’s report.

      33.    In some cases, in order to assure accuracy, Defendants Equifax,

Experian, and Trans Union may send letters and/or other communications to

consumers when certain information that may be considered suspicious or unreliable

is furnished about said consumers to be placed in their credit files, such as in cases

where consumers have a freeze or fraud alert on their credit report, or in accordance

with certain state laws, such as the consumer laws of Colorado. Defendants Equifax,

Experian, and Trans Union do not have any procedure to notify consumers (such as

a next of kin or executor or administrator of the consumer’s estate) when an “X”

deceased code is furnished to it to be placed in said consumer’s credit file or report.

      34.    Defendants Equifax, Experian, and Trans Union regularly receive the

“Death Master File” from the Social Security Administration, including weekly

and/or monthly updates, listing by social security number those consumers that the

government believes to be deceased. But Defendants Equifax, Experian, and Trans

Union do not cross-reference the “X” code received from data furnishers with the

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Death Master File in order to determine whether any given consumer reported as

deceased via a furnishing source is also on the Death Master File before selling a

credit report about said consumer, or at any time.

      35.    Defendants Equifax, Experian, and Trans Union will only use the Death

Master File to sell additional products for an additional fee, which are designed to

show whether a given consumer is truly deceased.

      36.    Defendants Equifax, Experian, and Trans Union do not employ any

procedures at all to assure that a consumer with a “deceased” mark on a report is, in

fact, actually deceased before placing the “deceased” mark on that consumer’s report

and selling that report for profit.

      37.    Even in instances where other data on the face of the consumer’s report

indicates that he/she is not deceased, Defendants Equifax, Experian, and Trans

Union do not employ any procedures to assure that a consumer with a “deceased”

mark on a report is, in fact, actually deceased before placing the “deceased” mark in

that consumer’s file.

      38.    Even in instances where the purportedly deceased consumer

communicates directly with Defendants Equifax, Experian, and Trans Union,

Defendants Equifax, Experian, and Trans Union do not employ any procedures to




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assure that a consumer with a “deceased” mark on a report is, in fact, actually

deceased before placing the “deceased” mark on that consumer’s report.

      39.    Once a “deceased” mark is placed upon a consumer’s report,

Defendants Equifax, Experian, and Trans Union will not calculate and will not

provide a credit score for that consumer.

      40.    Upon Defendants Equifax, Experian, and Trans Union’s reports with a

“deceased” mark sold to third parties, Defendants Equifax, Experian, and Trans

Union never calculate or provide a credit score for that consumer and instead reports

that consumer’s credit score as “N/A.”

      41.    Defendants Equifax, Experian, and Trans Union know that third party

credit issuers require a credit score in order to process a given credit application.

      42.    Defendants Equifax, Experian, and Trans Union know that consumers

without credit scores are unable to secure any credit from most credit issuers.

      43.    Defendants Equifax, Experian, and Trans Union know that living

consumers are routinely turned down for credit specifically because they are

reporting them as “deceased” and without a credit score.

      44.    Defendants Equifax, Experian, and Trans Union have been put on

notice for years through consumer disputes and lawsuits that living, breathing




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consumers are turned down for credit specifically because they are reporting them

as “deceased” and without a credit score.

         45.   Defendants Equifax, Experian, and Trans Union have received and

documented many disputes from consumers complaining that their credit reports had

them erroneously marked as “deceased.”

         46.   Defendants Equifax, Experian, and Trans Union know that thousands

of consumers are erroneously marked as “deceased” on their credit reports via an

erroneous furnishing of the “X” code, even when said consumers (and their dates of

birth and social security numbers) are not on the Death Master File and are, in fact,

alive.

         47.   Nevertheless, Defendants Equifax, Experian, and Trans Union do not

employ any procedures to assure that a consumer marked as “deceased” on their

credit reports is, in fact, deceased.

         48.   Even consumers who dispute the erroneous “deceased” status on their

Equifax, Experian, and Trans Union credit reports continue to be erroneously

marked as deceased unless the furnishing source which provided the erroneous “X”

code in the first instance decides to change the code.

         49.   Defendants Equifax, Experian, and Trans Union do not have any

independent procedure to change an erroneous deceased status on their own and will

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merely parrot their furnishing source in the case of a reinvestigation into the accuracy

of the deceased status upon a consumer’s report, a reinvestigation which is triggered

by a consumer dispute.

      50.    Nor do Defendants Equifax, Experian, and Trans Union employ any

procedures to limit or stop the furnishing of reports to third parties for consumers

that they have marked as “deceased” under any circumstances.

      51.    For years after a consumer’s actual death, Defendants Equifax,

Experian, and Trans Union will continue to sell credit reports about that consumer.

      52.    Defendants Equifax, Experian, and Trans Union will only remove a

deceased consumer’s file from their respective credit reporting databases when it is

no longer valuable to them—meaning that no one is continuing to purchase reports

about that consumer.

      53.    Defendants Equifax, Experian, and Trans Union charge third parties a

fee for reports with a mark that a consumer is deceased (“reports on the deceased”)

as they would for any other report.

      54.    Defendants Equifax, Experian, and Trans Union profit from the sale of

reports on deceased consumers.




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      55.    Defendants Equifax, Experian, and Trans Union have in their

respective credit reporting databases many “deceased” tradelines corresponding to

distinct credit files for individual consumers that they have marked as “deceased.”

      56.    Defendants Equifax, Experian, and Trans Union know that truly

deceased consumers do not apply for credit.

      57.    Defendants Equifax, Experian, and Trans Union know that the credit

information and reports of truly deceased persons are used by criminals to commit

identity theft or credit fraud. Indeed, identity theft using the personal identifying

information of deceased consumers is known to Defendants Equifax, Experian, and

Trans Union to be a common and major source of identity theft.

      58.    Defendants Equifax, Experian, and Trans Union know that identity

theft and credit fraud are serious and widespread problems in our society.

      59.    Defendants Equifax, Experian, and Trans Union warn the relatives of

truly deceased consumers that identity theft can be committed using the credit

reports and information of the deceased, and require relatives to provide a death

certificate or executorship papers, among other forms of proof, before accessing the

deceased consumer’s credit information or report.

      60.    Defendants Equifax, Experian, and Trans Union have no similar death

certificate, executorship paper, or any other proof requirements for their data

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sources, which report a consumer as deceased or for the purchasers of their reports

who access the purportedly deceased consumer’s information.

      61.    Defendants Equifax, Experian, and Trans Union sell reports on

supposedly deceased consumers to third parties in an automated fashion and without

any specific or general certification that could reasonably explain a “permissible

purpose” for purchasing or using a (supposedly) deceased consumer’s credit history

and/or report.

      62.    For consumers who are deceased, there rarely, if ever, exists a

permissible purpose under the FCRA for Defendants Equifax, Experian, and Trans

Union to sell their credit reports, absent a court order.

      63.    Defendants Equifax, Experian, and Trans Union know that such reports

contain a vast amount of personal identifying and credit account information on the

supposedly deceased consumer, information that can be used to commit identity theft

or for other fraudulent purposes.


    The Credit Bureaus’ Method for Considering Consumer Credit Report
                                 Disputes

      64.    The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).




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      65.    The credit bureaus, Equifax, Experian, Trans Union, and Innovis, have

thus created the Online Solution for Complete and Accurate Reporting, or e-

OSCAR, as the credit industries’ standard of performance. e-OSCAR allows the

credit bureaus to create and data furnishers to respond to disputes initiated by

consumers by routing credit reporting agency-created prompts for automated

consumer dispute verifications to the appropriate data furnishers. e-OSCAR utilizes

a numeric-alpha language specific to the credit reporting industry.

      66.    That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA’s

“Credit Reporting Resource Guide.”

      67.    Metro II is driven by numeric codes that translate into specific alpha

representations about consumers’ creditworthiness and character that will ultimately

appear on credit reports issued to third parties who make credit, insurance, rental,

and employment decisions regarding consumers.

      68.    Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.




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      69.   The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

      70.   These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.

      71.   Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.

      72.   The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

      73.    Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via eOSCAR.




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    Equifax Reporting Plaintiff as Deceased on or about October 19, 2022


      74.    Upon information and belief, on or about October 19, 2022, Equifax is

reporting deceased notations in Plaintiff’s credit report.

     Discover Bank
     Account Number 601101XXXXXX
     Account Status: Consumer Deceased

     WF/FMG
     Account Number 577442XXXXXXXXXX
     Account Status: Consumer Deceased


       Plaintiff Sees Experian Reporting Deceased on October 29, 2022

      75.    On or about October 29, 2022, Plaintiff sees Experian reporting

deceased notations in Plaintiff’s credit report.

     Discover Bank
     Account Number 601101XXXXXX
     Account Status: Consumer Deceased

     WF/FMG
     Account Number 577442XXXXXXXXXX
     Account Status: Consumer Deceased


            Defendant Trans Union Fails to Provide Credit Disclosure


      76.    On or about October 29, 2022, Plaintiff requested a credit disclosure

from Defendant.


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      77.    Defendant Trans Union failed to provide the requested credit disclosure

in violation of 15 U.S.C. § 1681g.


   Plaintiff Disputes with Equifax, Experian, and Trans Union on or about
                             November 14, 2022

      78.    On or about November 14, 2022, extremely shocked, surprised, and

embarrassed at Defendants’ inaccurate reporting, Plaintiff mailed written disputes to

Equifax, Experian, and Trans Union, via certified mail, disputing the deceased

notations that the credit bureaus were reporting in Plaintiff’s credit reports. Plaintiff

requested they reinvestigate the disputed information, correct the reporting, and send

corrected copies of the credit reports.


          Equifax’s Response to Plaintiff’s November 14, 2022 Dispute

      79.    Defendant Equifax did not respond to Plaintiff’s dispute.

      80.    Defendant Equifax did not indicate that Plaintiff’s dispute was found to

be frivolous or irrelevant.

      81.    Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).


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      82.    Defendant Equifax failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


         Experian’s Response to Plaintiff’s November 14, 2022 Dispute


      83.    Defendant Experian did not respond to Plaintiff’s dispute.

      84.    Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      85.    Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      86.    Defendant Experian failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


       Trans Union’s Response to Plaintiff’s November 14, 2022 Dispute


      87.    Defendant Trans Union did not respond to Plaintiff’s dispute.

      88.    Defendant Trans Union did not indicate that Plaintiff’s dispute was

found to be frivolous or irrelevant.

      89.    Defendant Trans Union failed to conduct a reasonable reinvestigation

of Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the
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disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      90.    Defendant Trans Union failed to provide the requested credit disclosure

in violation of 15 U.S.C. § 1681g.


            Defendant Trans Union Fails to Provide Credit Disclosure


      91.    On or about November 16, 2022, Plaintiff requested a credit disclosure

from Defendant.

      92.    Defendant Trans Union failed to provide the requested credit disclosure

in violation of 15 U.S.C. § 1681g.


Plaintiff Denied Mortgage Refinancing Due to Inaccurate Credit Reporting on
                        or about November 28, 2022

      93.    On or about November 28, 2022, Plaintiff sought to refinance her

mortgage and submitted an application.

      94.    Shortly thereafter, Bank of America denied Plaintiff’s application

based upon the contents of Plaintiff’s credit reports.

      95.    Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that the bills are paid in-full and on-time each




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month. Plaintiff believes and understands that their credit record with creditors is

good, so Plaintiff could not imagine how the application had been denied.


      Midland Mortgage Denies Plaintiff Credit Due to Inaccurate Credit
                Reporting on or about December 14, 2022

      96.    On or about December 14, 2022, Plaintiff sought to refinance her

mortgage and submitted an application.

      97.    Shortly thereafter, Midland Mortgage denied Plaintiff’s credit

application based upon the contents of Plaintiff’s credit reports.

      98.    Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that the bills are paid in-full and on-time each

month. Plaintiff believes and understands that their credit record with creditors is

good, so Plaintiff could not imagine how the application had been denied.


  Plaintiff’s Disputes with Equifax, Experian, and Trans Union on or about
                              December 16, 2022

      99.    On or about December 16, extremely shocked, surprised, and

embarrassed at Defendants’ inaccurate reporting, Plaintiff mailed written disputes to

Equifax, Experian, and Trans Union, via certified mail, disputing the deceased

notations that the credit bureaus were reporting in Plaintiff’s credit reports. Plaintiff



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requested they reinvestigate the disputed information, correct the reporting, and send

corrected copies of the credit reports.


          Equifax’s Response to Plaintiff’s December 16, 2022 Dispute

      100. Defendant Equifax did not respond to Plaintiff’s dispute.

      101. Defendant Equifax did not indicate that Plaintiff’s dispute was found to

be frivolous or irrelevant.

      102. Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      103. Defendant Equifax failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


         Experian’s Response to Plaintiff’s December 16, 2022 Dispute


      104. Defendant Experian did not respond to Plaintiff’s dispute.

      105. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      106. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

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disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      107. Defendant Experian failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


       Trans Union’s Response to Plaintiff’s December 16, 2022 Dispute


      108. Defendant Trans Union did not respond to Plaintiff’s dispute.

      109. Defendant Trans Union did not indicate that Plaintiff’s dispute was

found to be frivolous or irrelevant.

      110. Defendant Trans Union failed to conduct a reasonable reinvestigation

of Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      111. Defendant Trans Union failed to provide the requested credit disclosure

in violation of 15 U.S.C. § 1681g.

      112. In the last two years, Plaintiff has disputed the Defendants' reporting

Plaintiff as deceased, causing credit denials, which will be further identified during

discovery.




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      113. As a result of the “deceased” annotations contained throughout

Plaintiff’s credit reports, Defendants Equifax, Experian, and Trans Union made it

practically impossible for Plaintiff to obtain credit.

      114. As a standard practice, Defendants Equifax, Experian, and Trans Union

do not conduct independent investigations in response to consumer disputes. Instead,

they merely parrot the response of the furnisher despite numerous court decisions

admonishing this practice. See Cushman v. Trans Union Corp., 115 F.3d 220, 225

(3d Cir. 1997) (“The ‘grave responsibilit[y]’ imposed by § 1681i(a) must consist of

something more than merely parroting information received from other sources.

Therefore, a ‘reinvestigation’ that merely shifts the burden back to the consumer and

the credit grantor cannot fulfill the obligations contemplated by the statute.”);

Apodaca v. Discover Fin. Servs., 417 F. Supp. 2d 1220, 1230–31 (D.N.M. 2006)

(noting that credit reporting agencies may not rely on automated procedures that

make only superficial inquiries once the consumer has notified it that information is

disputed); Gorman v. Experian Info. Sols., Inc., 2008 WL 4934047, at *6 (S.D.N.Y.

Nov. 19, 2008).

      115. Consistent with their standard policies and procedures, Defendants

Equifax, Experian, and Trans Union automatically generated their “investigation”

results once the aforementioned furnishers provided their responses to Plaintiff’s

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disputes, verifying that Plaintiff was deceased, and no employee from any of the

credit bureaus took any additional steps to review Plaintiff’s documentation,

information, or the Social Security Administration’s (“SSA”) Death Master File,

which Defendants purchase from the SSA, after the furnishers provided their

responses to Plaintiff’s disputes.

      116. Instead, Defendants Equifax, Experian, and Trans Union blindly

accepted the aforementioned furnishers’ incomplete version of the facts and

continued to report the inaccurate, derogatory information on Plaintiff’s credit

reports, namely, that he is deceased.

      117. Defendants Equifax, Experian, and Trans Union continue the practice

of parroting the response from furnishers even though they have been repeatedly

sued for failing to conduct reasonable investigations as required by the FCRA.

      118. Defendants Equifax, Experian, and Trans Union do not intend to

modify their dispute-processing procedures because doing so would drastically

increase their operating expenses.

      119. Instead, Defendants Equifax, Experian, and Trans Union intentionally

choose not to comply with the FCRA to lower their costs. Accordingly, Defendants

Equifax, Experian, and Trans Union’s violations of the FCRA are willful.




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      120. At all times pertinent hereto, Defendants Equifax, Experian, and Trans

Union were acting by and through their agents, servants, and/or employees who were

acting within the course and scope of their agency or employment, and under the

direct supervision and control of the Defendants herein.

      121. At all times pertinent hereto, the conduct of Defendants Equifax,

Experian, and Trans Union, as well as that of their agents, servants, and/or

employees, was intentional, willful, reckless, and in grossly negligent disregard for

federal law and the rights of Plaintiff herein.

                              CLAIMS FOR RELIEF

                                  COUNT I
                             15 U.S.C. § 1681e(b)
   Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                  Accuracy
  (First Claim for Relief Against Defendants Equifax, Experian, and Trans
                                   Union)
     122. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-121 as if fully stated herein.

      123. The FCRA mandates that “[w]henever a consumer reporting agency

prepares a consumer report it shall follow reasonable procedures to assure maximum

possible accuracy of the information concerning the individual about whom the

report relates.” 15 U.S.C. § 1681e(b).




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      124. On multiple occasions, Defendants Equifax, Experian, and Trans Union

prepared patently false consumer reports concerning Plaintiff.

      125. Despite actual and implied knowledge that Plaintiff is not dead,

Defendants Equifax, Experian, and Trans Union readily sold such false reports to

one or more third parties, thereby misrepresenting Plaintiff, and ultimately,

Plaintiff’s creditworthiness.

      126. Defendants Equifax, Experian, and Trans Union each violated 15

U.S.C. § 1681e(b) by failing to establish or to follow reasonable procedures to assure

maximum possible accuracy in the preparation of the credit reports and credit files

they published and maintain concerning Plaintiff.

      127. As a result of Defendants Equifax, Experian, and Trans Union’s

conduct, action, and inaction, Plaintiff suffered damage by loss of credit; loss of the

ability to purchase and benefit from Plaintiff’s credit; being chilled from seeking

credit opportunities; the expenditure of time and money disputing and trying to

correct the blatantly inaccurate credit reporting; and emotional distress including the

mental and emotional pain, anguish, humiliation, and embarrassment of credit

denials, fear of financial difficulty, and the inability to obtain credit for important

life purchases.




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      128. Defendants Equifax, Experian, and Trans Union’s conduct, action, and

inaction was willful, rendering them liable for actual or statutory damages, and

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent, entitling Plaintiff to recover under 15

U.S.C. § 1681o.

      129. Plaintiff is entitled to recover attorneys’ fees and costs from Defendants

Equifax, Experian, and Trans Union in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n and/or § 1681o.

                                     COUNT II
                                  15 U.S.C. § 1681i
                 Failure to Perform a Reasonable Reinvestigation
        (Second Claim for Relief Against Defendants Equifax, Experian, and
                                 Trans Union)

      130. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-121 as if fully stated herein.

      131. The FCRA mandates that Defendants Equifax, Experian, and Trans

Union conduct an investigation of the accuracy of information “[i]f the completeness

or accuracy of any item of information contained in a consumer’s file” is disputed

by the consumer. See 15 U.S.C. § 1681i(a)(1). The Act imposes a 30-day time

limitation for the completion of such an investigation.




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      132. The FCRA provides that if Defendants Equifax, Experian, and Trans

Union conduct an investigation of disputed information and confirm that the

information is in fact inaccurate, or are unable to verify the accuracy of the disputed

information, they are required to delete that item of information from the consumer’s

file. See 15 U.S.C. § 1681i(a)(5)(A).

      133. On multiple occasions in the last two years, Plaintiff sent written

disputes to Defendants Equifax, Experian, and Trans Union, pleading with them to

comply with their statutory reinvestigation obligations and correct and/or delete

specific items in Plaintiff’s credit files that are patently inaccurate, misleading, and

highly damaging to Plaintiff and Plaintiff’s ability to obtain credit, namely,

references to Plaintiff being “deceased.”

      134. Either Defendants Equifax, Experian, and Trans Union conducted no

investigation of Plaintiff’s disputes, or such investigations were so shoddy as to

allow patently false and highly damaging information to remain in Plaintiff’s credit

files, namely, the deceased notations.

      135. Defendants Equifax, Experian, and Trans Union violated 15 U.S.C. §

1681i on multiple occasions by failing to conduct a reasonable reinvestigation to

determine whether the disputed information was inaccurate and record the current

status of the disputed information, or delete the disputed information, before the end

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of the 30-day period beginning on the date on which they received the notices of

dispute from Plaintiff; and by failing to maintain reasonable procedures with which

to filter and verify disputed information in Plaintiff’s credit files.

      136. As a result of Defendants Equifax, Experian, and Trans Union’s

conduct, action, and inaction, Plaintiff suffered damage by loss of credit; loss of the

ability to purchase and benefit from Plaintiff’s credit; being chilled from seeking

credit opportunities; the expenditure of time and money disputing and trying to

correct the blatantly inaccurate credit reporting; and emotional distress including the

mental and emotional pain, anguish, humiliation, and embarrassment of credit

denials, fear of financial difficulty, and the inability to obtain credit for important

life purchases.

      137. Defendants Equifax, Experian, and Trans Union’s conduct, action, and

inaction was willful, rendering them liable for actual or statutory damages, and

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent, entitling Plaintiff to recover under 15

U.S.C. § 1681o.

      138. Plaintiff is entitled to recover attorneys’ fees and costs from Defendants

Equifax, Experian, and Trans Union in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n and/or § 1681o.

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                                        COUNT III
                                 15 U.S.C. § 1681g
                    Failure to Provide Disclosures to Plaintiff


      139. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-121 as if fully stated herein.

      140. Defendants violated 15 U.S.C. § 1681g by failing to provide Plaintiff’s

credit disclosure after each request.

      141. As a result of Defendants’ conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment.

      142. Defendants’ conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.




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      143. Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.



                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

      a)    Determining that Defendants negligently and/or willfully violated the

            FCRA;

      b)    Awarding Plaintiff actual damages, statutory, and punitive damages as

            provided by the FCRA;

      c)    Awarding Plaintiff reasonable attorneys’ fees and costs as provided by

            the FCRA; and

      d)    Granting further relief, in law or equity, as this Court may deem

            appropriate and just.

                                 DEMAND FOR JURY TRIAL

      144. Plaintiff demands a trial by jury.



Dated:      September 3, 2024

                                              /s/ Joseph P. McClelland
                                              Joseph P. McClelland
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